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              United States Court of Appeals
                               For the First Circuit
                                  _____________________
No. 18-1065
                        IN RE: ASACOL ANTITRUST LITIGATION


 UNITED FOOD & COMMERCIAL WORKERS UNIONS AND EMPLOYERS MIDWEST
  HEALTH BENEFITS FUND, on behalf of itself and all others similarly situated; MARK
                               ADORNEY,

                                          Plaintiffs,

    TEAMSTERS UNION 25 HEALTH SERVICES & INSURANCE PLAN, on behalf of
themselves and all others similarly situated; NECA-IBEW WELFARE TRUST FUND, on behalf
   of themselves and all others similarly situated; WISCONSIN MASONS' HEALTH CARE
    FUND, on behalf of itself and all others similarly situated; MINNESOTA LABORERS
    HEALTH AND WELFARE FUND, on behalf of itself and all others similarly situated;
  AFSCME HEALTH AND WELFARE FUND; PENNSYLVANIA EMPLOYEES BENEFIT
    TRUST FUND; AHOLD U.S.A., INC.; ROCHESTER DRUG CO-OPERATIVE, INC.;
        VALUE DRUG COMPANY; MEIJER, INC.; MEIJER DISTRIBUTION, INC.,

                                    Plaintiffs, Appellees,

                                              v.

WARNER CHILCOTT LIMITED; ALLERGAN, INC., f/k/a Actavis, PLC; ALLERGAN USA,
  INC.; ALLERGAN SALES, LLC; ALLERGAN, PLC, Formerly known as Actavis, PLC,

                                   Defendants, Appellants,

ZYDUS PHARMACEUTICALS USA INC.; CADILA HEALTHCARE LIMITED; WARNER
 CHILCOTT (US), LLC; WARNER CHILCOTT SALES (US), LLC; WARNER CHILCOTT
                            COMPANY, LLC,

                                        Defendants.
                                    __________________

                                        JUDGMENT

                                  Entered: October 15, 2018

        This cause came on to be heard on appeal from the United States District Court for the
District of Massachusetts and was argued by counsel.
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         Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
district court's grant of class certification is reversed, and the matter is remanded for further
proceedings consistent with the opinion issued this day.


                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


cc:
Hon. Denise Jefferson Casper
Robert Farrell, Clerk, United States District Court for the District of Massachusetts
Noah Austin Brumfield
John Mark Gidley
Peter J. Carney
Nicole J. Benjamin
Robert A. Milne
Alison Hanstead
Jack E. Pace III
Matthew Sterrett Leddicotte
Dana Foster
Demetra Frawley
Thomas David Brooks
Kenneth A. Wexler
Nathaniel L. Orenstein
Bethany R. Turke
Justin N. Boley
Tyler J. Story
Jeffrely L. Kodroff
John A. Macoretta
Peter J. Mougey
Norman Berman
Jonathan D. Karmel
Thomas P. Cartmell
John Henby Sutter
Diana J. Zinser
Tyler W. Hudson
Daniel E. Gustafson
Michelle J. Looby
Joshua Rissman
David P. Barclay
Devona L. Wells
Karen H. Riebel
Thomas M. Sobol
David S. Nalven
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Lauren G. Barnes
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Peter R. Kohn
David F. Sorensen
Joseph T. Lukens
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Joseph Opper
David C. Raphael Jr.
Susan C. Segura
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Paul Ethan Slater
Donald Sean Nation
Joseph M. Vanek
Matthew Charles Weiner
Stephen Gerard Huggard
Elizabeth Howar Kelly
Andy Miller
Giselle J. Joffre
Richard Abbott Samp
